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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

     CHRISTOPHER E. DORWORTH,

           Plaintiff,

     v.                                                 Case No.: 6:23-cv-871-CEM-DCI

     JOEL MICAH GREENBERG,
     ANDREW W. GREENBERG,
     SUSAN GREENBERG, ABBY
     GREENBERG, AWG., INC.,
     GREENBERG DENTAL
     ASSOCIATES, LLC, GREENBERG
     DENTAL & ORTHODONTICS, P.A.,
     and GREENBERG DENTAL
     SPECIALTY GROUP, LLC,

           Defendants.

          ANDREW GREENBERG, SUSAN GREENBERG, AND AWG, INC.’S
          TIME-SENSITIVE MOTION TO DETERMINE CONFIDENTIALITY

           Yesterday, September 5, 2024, Plaintiff voluntarily dismissed this case without

 prejudice pursuant to Rule 41(a)(1)(A)(i). Doc. 185. Defendants now plan to file a

 motion to recover their attorney’s fees under the Court’s continuing jurisdiction over

 collateral issues.1 To support their forthcoming motion, Defendants will file numerous


 1
   Although a voluntary dismissal strips a district court of jurisdiction over the merits of a case, Anago
 Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272, 1279 (11th Cir. 2012), the Court can still decide certain
 “collateral issues” like “motions for costs or attorney’s fees.” Cooter & Gell v. Hartmarx Corp., 496 U.S.
 384, 395 (1990); Hyde v. Irish, 962 F.3d 1306, 1309 (11th Cir. 2020). Here, the Greenbergs seek a ruling
 from the Court related to exhibits that will be filed in support of their forthcoming motion to establish
 entitlement to attorney’s fees—an issue over which the Court unquestionably retains jurisdiction. Be-
 cause the Court unquestionably has jurisdiction to address the motion for fees, it likewise has jurisdic-
 tion to determine whether exhibits attached to such a motion to can be filed in the public docket.
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 exhibits, many of which Plaintiff previously designated (in whole or in part) as confi-

 dential under the parties’ confidentiality agreement. Defendants, however, challenged

 those designations, triggering a requirement under the parties’ agreement for Plaintiff

 to seek affirmative relief from the Court to maintain his confidentiality designations.

 He has failed to do so. Thus, under the parties’ confidentiality agreement and the

 Court’s inherent power, the Greenbergs request that the Court enter an order finding

 that Plaintiff has waived all confidentiality designations and permitting Defendants to

 file such documents in the public record rather than seeking to file them under seal

 pursuant to Local Rule 1.11. In support, the Greenbergs state:

            THE TIME SENSITIVE NATURE OF RELIEF REQUESTED

        This motion is time-sensitive because Defendants intend to use the documents

 at issue to support a motion for fee entitlement, which is currently due on September

 19, 2024—14 days after judgment. M.D. Fla. Local R. 7.01(b).2 The Greenbergs there-

 fore respectfully request that the Court expedite briefing on the issues raised herein and

 issue an order as soon as practicable, but respectfully, no later than September 17,

 2024—leaving enough time for Defendants to apply appropriate redactions and to

 draft motions to seal, as necessary.

                                        BACKGROUND

        Plaintiff filed his RICO, defamation, and conspiracy-based claims on April 7,

 2023. In his complaints, Plaintiff alleged (among other things) that the Greenbergs


 2
  Although a voluntary dismissal pursuant to Rule 41(a)(1)(A)(i) is not a “judgment,” Defendants still
 intend to comply with the spirit of the local rule by filing their motion within the 14-day period.
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 conspired to frame him, Matt Gaetz, and others for sexual impropriety with a minor.

 In doing so, Plaintiff flooded the docket with outrageous and false claims about De-

 fendants. For example, Plaintiff alleged that the Greenbergs and the Greenberg dental

 entities operate an illegal “pill mill,” see, e.g., Doc. 1-1 ¶ 726a; Plaintiff alleged all man-

 ner of disgusting and extraneous claims regarding Abby Greenberg’s sexual activities,

 see, e.g., id. ¶¶ 633–35, 641–45; and Plaintiff needlessly alleged that sex trafficking vic-

 tim A.B.’s pornography page “includes some of the more extreme elements of pornog-

 raphy,” id. ¶ 371.

        Elsewhere, in public statements, Plaintiff claimed that the evidence overwhelm-

 ingly supports his innocence and that the Greenbergs are criminals who “abuse[d]”

 their “wealth and power” “to implicate [Plaintiff] and Congressman Gaetz to get their

 degenerate son out of prison faster.” Ex. 1. He said this all while knowing that there

 is a wealth of inculpatory evidence that he has effectively suppressed by designating it

 confidential. But as this Court has already noted, Plaintiff’s allegations have all but

 foreclosed any claims of confidentiality:

               This is a case of public importance. It is one that there may be
        media interest in, and it’s one that involves important issues. And the
        interest in sealing this to protect—I’m not seeing any confidentialities
        that would really overwhelm the First Amendment right for the public to
        see this case, especially when a plaintiff brings claims in relation to their
        marriage and spouses and the kind of intimate issues in this case which
        are laid out in extreme detail in the—in the complaint. I am unlikely to
        seal anything because it all seems relevant. It’s been made relevant by the
        allegations in the complaint.

 Doc. 179 at 27:7–17.



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        Early in this case, the parties entered into the confidentiality agreement that

 Plaintiff has used to make his confidentiality designations. See generally Doc. 183-3.

 That agreement allows a party to, “in good faith, designate ‘Confidential’ any docu-

 ment, thing, material, testimony, or other information (‘Discovery Material’) that con-

 sists of or includes non-public information that would reasonably be subject to protec-

 tion by statute, rule, regulation, or precedent.” Id. ¶ 2. Once designated, confidential

 material may only be filed under seal. Id. ¶ 14.

        If a party disagrees with a designation, they “may challenge the designation at

 any time through conferral with the designating Party.” Id. ¶ 15. Upon receiving such

 challenge, the designating party “must file a motion directed to the United States Dis-

 trict Court for the Middle District of Florida or otherwise act in conformity with the

 Court’s practice standards for resolving discovery disputes within ten (10) days of re-

 ceiving notice of the challenged designation.” Id. “[T]he designating Party bears the

 burden of proof that such documents . . . are . . . subject to protection pursuant to ap-

 plicable law.” Id. The parties are required to “treat materials designated as [confiden-

 tial] . . . [as] set forth in [the] Agreement unless and until . . . . “the designating Party

 fail[s] to file a motion or otherwise act in conformity with the Court’s practice stand-

 ards for resolving discovery disputes within the [10-day] time period.” Id. (emphasis

 added). In other words, if a party fails to seek a court ruling within 10 days after re-

 ceiving a challenge to a confidentiality designation, the challenging parties need not

 continue to treat such documents as confidential, and thus need not file such docu-

 ments under seal.
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         Throughout this action, Plaintiff has abused this agreement, designating almost

 all of his discovery, entire deposition transcripts, and (later) portions of transcripts as

 confidential—even though these designated materials were extremely relevant to the

 claims Plaintiff himself has filed.

         In response, the Greenbergs issued a series of challenges to Plaintiff’s confiden-

 tiality designations under their agreement. See Ex. 2 (July 31, 2024 letter challenging

 Plaintiff’s designation of A.B., K.M., Michael Fischer, and Rebekah Dorworth’s entire

 deposition transcripts as confidential); Ex. 3 (August 3, 2024 letter challenging Plain-

 tiff’s designation of much of his production as confidential).

         The Greenbergs July 31, 2024 challenge joined in an earlier challenge issued by

 then-Defendant A.B. See Ex. 4. Even so, Plaintiff took the position that “the PARTY

 wishing to challenge the designation had to challenge and we had 10 days to respond

 to that challenge.” Ex. 5 at 1. Thus, according to Plaintiff, the Greenbergs could not

 join A.B.’s earlier challenge, which afforded Plaintiff until August 9th to file a motion.

 Id. at 2. Without accepting that interpretation, the Greenbergs agreed to allow Plaintiff

 until August 9th “to de-designate or move the court to maintain the designations for

 the transcripts of AB, Mr. Fischer, and [K.M.].” Id. at 1. Plaintiff, however, did nei-

 ther.

         Rather, Plaintiff responded to these challenges by designating more limited por-

 tions of Rebekah Dorworth’s deposition transcript as confidential. Ex. 6 (August 5,

 2024 letter addressing Rebekah Dorworth’s deposition transcript). The Greenbergs


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 then challenged those designations. Ex. 7 (August 16, 2024 letter challenging new des-

 ignations in Rebekah Dorworth’s transcript).

        As with his other designations, Plaintiff did not file a motion within 10 days of

 the Greenbergs’ August 16th challenge letter addressing his new designations in Re-

 bekah Dorworth’s deposition transcript. Even so, counsel for the Greenbergs reached

 out to counsel for Plaintiff to clarify Plaintiff’s waiver and to confer on a separate issue

 relating to tax returns. Ex. 8 at 3. The parties then held a telephonic conferral on the

 tax return issue. During that conferral, counsel for Plaintiff separately asked for more

 time to file a motion to maintain his confidentiality designations. In response, counsel

 for the Greenbergs suggested that counsel for Plaintiff send an email requesting addi-

 tional time to file a motion to maintain confidentiality, if he intended to do so. Plain-

 tiff’s counsel then emailed that request, seeking just over a week from the day of the

 request (until Friday, September 6, 2024) to file “a motion for protective order regard-

 ing the redacted portions of Rebekah Dorworth’s testimony and certain minor portions

 of the deposition transcript’s [sic] of Mike Fisher, A.B. and K.M.” Id. at 2. Counsel

 for the Greenbergs responded that Plaintiff “ha[s] waived any claim of confidentiality

 . . . by failing to file a motion within 10 days of our formal challenges.” Id. However,

 as a professional courtesy, the Greenbergs would “agree not to file any of the docu-

 ments or portions of transcripts you have marked confidential on the open docket until

 after Wednesday, September 4, 2024,” but warned Plaintiff that he needed to file “on

 or before that date.” Id. at 1–2.



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        But Plaintiff did not do so and still has not filed any motion with the Court

 seeking to maintain his confidentiality designations. Instead, Plaintiff voluntarily dis-

 missed this action. Doc. 185. For the Court’s benefit, a timeline of the parties’ confer-

 rals is incorporated within this motion as Appendix A.

        Because Plaintiff frivolously filed and prosecuted this action, Defendants are

 entitled to their attorney’s fees under state and federal law. To establish that entitle-

 ment in their forthcoming fee motion, Defendants will rely on the materials Plaintiff

 has previously designated as confidential. For this reason, the Greenbergs ask that the

 Court rule that Plaintiff has waived any claim of confidentiality over materials that

 were (1) previously designated as confidential, (2) challenged under the parties confi-

 dentiality agreement, and (3) on which Plaintiff failed to timely seek relief. This in-

 cludes: the deposition transcripts of Rebekah Dorworth, Michael Fischer, A.B., and

 K.M, as well as those documents referenced by bates number in Exhibit 3. 3 The Green-

 bergs further request that the Court permit Defendants to file those materials on the

 open docket in support of their forthcoming motion for entitlement of attorney’s fees.4




 3
   On September 3, 2024, Plaintiff also designated as confidential a declaration provided by B.G. The
 same day, the Greenbergs challenged Plaintiff’s designation. Plaintiff has until September 13, 2024 to
 file a motion to maintain the confidentiality designation, as Defendants will be citing it in support of
 their forthcoming motion for attorney’s fees.
 4
   These materials, if filed, will still contain redactions to protect the identifying information of the
 young women who attended parties at Plaintiff’s home that are relevant to this action—as well as
 those redactions required by Federal Rule of Civil Procedure 5.2. Such material was designated con-
 fidential by former-Defendant A.B. and later by Defendant Abby Greenberg. The Greenbergs agree
 that these designations are appropriate and thus have not challenged them.
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                              MEMORANDUM OF LAW

         This Court should reject Plaintiff’s claim of confidentiality in the documents at

 issue because Plaintiff failed to move to maintain his confidentiality designations

 within the time required by the parties’ confidentiality agreement. Indeed, for some

 documents, Plaintiff allowed his agreed time to file elapse several times over by also

 failing to file within the additional time to seek protection that the Greenbergs granted

 to him. For this reason, the Court should grant this motion.

    I.      Plaintiff has waived any right to claim confidentiality in any of the items
            the Greenbergs have challenged as confidential.

         The Court should grant this motion because Plaintiff did not file a timely mo-

 tion to maintain his confidentiality designations—as required by the parties’ confiden-

 tiality agreement. As to A.B., K.M., and Michael Fischer’s deposition transcripts—by

 Plaintiff’s counsel’s own admission—this deadline to seek protection ran on August

 9th. See Ex. 5 at 2. As to the documents addressed in the Greenbergs’ August 3rd letter,

 Plaintiff’s deadline to seek protection ran August 13th. See Ex. 3. And as to the Green-

 bergs’ August 16th letter addressing Rebekah Dorworth’s deposition, Plaintiff’s dead-

 line to seek protection ran on August 26th. See Ex. 7. Then, when the Greenbergs

 offered—while still asserting their position that Plaintiff waived confidentiality—

 Plaintiff until September 4th to seek relief as to all of these documents, Plaintiff again

 allowed his deadline to expire without seeking relief from the Court. See generally Ex. 8.

 Plaintiff has plainly waived any confidentiality argument he could otherwise raise.




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       On this point, the law is clear: “When counsel agree to the terms of a confiden-

 tiality agreement, they are bound by its terms.” Gazzara v. Pulte Home Corp., No. 6:16-

 cv-657-ORL-31TBS, 2016 WL 6947351, at *3 (M.D. Fla. Nov. 28, 2016); see also

 Wyndham Vacation Ownership, Inc. v. Slattery, Sobel & Decamp, LLP, No. 6:19-CV-1908-

 WWB-EJK, 2022 WL 8217011, at *2 (M.D. Fla. July 22, 2022) (explaining that case

 management orders like the one in this case, Doc. 51, permit “the parties to stipulate

 among themselves to binding confidentiality agreements”). Thus, Plaintiff bound him-

 self to the terms of the parties’ confidentiality agreement, which required him to seek

 relief as to any challenged confidentiality designation within 10 days of the Green-

 bergs’ challenges. Doc. 183-3 ¶ 15.

       By allowing the time the confidentiality agreement permitted him to seek Court

 intervention to expire (several times), and by then failing to seek protection of the doc-

 uments within the additional time the Greenbergs granted Plaintiff to file such a mo-

 tion (which the Greenbergs would have opposed based on waiver), Plaintiff again

 waived any confidentiality argument as to all of the relevant materials.

                                     CONCLUSION

       For these reasons, this Court should grant this motion and permit Defendants

 to file the materials addressed in this motion on the open docket in conjunction with

 their forthcoming motion for entitlement to an award of attorney’s fees.

                      LOCAL RULE 3.01(g) CERTIFICATION

       On September 6, 2024 counsel for the Greenbergs conferred with counsel for

 Plaintiff by phone on this motion. Plaintiff opposes the relief sought.
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  Dated: September 6, 2024                  Respectfully submitted,

                                            /s/Frederick S. Wermuth
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                                            Attorneys for Defendants Andrew Greenberg, Susan
                                            Greenberg, and AWG, Inc.

                              CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 6, 2024 I electronically filed the fore-

  going with the Clerk of the Court by using the CM/ECF system, which will send a

  notice of electronic filing to all counsel of record.

                                            /s/ Frederick S. Wermuth
                                            Frederick S. Wermuth
                                            Florida Bar No. 0184111




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                                      Appendix A
                                  Timeline of Conferral

  July 18, 2024: Then-Defendant A.B. challenges Plaintiff’s “designation of AB’s entire
  deposition as confidential.” Ex. 4.
  July 31, 2024: The Greenbergs challenge Plaintiff’s designation of A.B., K.M., Mr.
  Fischer, and Ms. Dorworth’s entire deposition transcripts as confidential. Ex. 2.
  August 1, 2024: Plaintiff dismisses claims against A.B. Doc. 165.
  August 2, 2023 through August 3, 20204: The parties agree on August 9, 2024 as
  Plaintiff’s deadline to de-designate or move the Court to maintain the designations for
  the transcripts of AB, Mr. Fischer, and K.M. Ex. 5.
  August 3, 2024: The Greenbergs challenge Plaintiff’s designation of text messages
  bates-stamped DORWORTH 002191 through 002420, as well as letters bates-stamped
  DORWORTH 000909 through 000931, DORWORTH 001075 through 001102,
  DORWORTH 001126 through 001130, and DORWORTH 001585 through 001587
  as confidential. The Greenbergs also challenge Plaintiff’s designation of the text chain
  bates-stamped DORWORTH 002190 as confidential in its entirety. Ex. 3.
  August 5, 2024: Plaintiff rescinds his former-counsel’s carte blanche designation of
  Ms. Dorworth’s deposition transcript as confidential and makes new designations.
  Ex. 6.
  August 9, 2024: Plaintiff’s deadline to move to maintain designations in A.B., K.M.,
  and Mr. Fischer’s deposition transcripts expires.
  August 13, 2024: Plaintiff’s deadline to move to maintain designations for text mes-
  sages and other produced documents identified in Exhibit 3 expires.
  August 16, 2024: The Greenbergs challenge Plaintiff’s new designations in Ms. Dor-
  worth’s transcript. Ex. 7.
  August 27, 2024 through August 30, 2024: Counsel for the Greenbergs confer with
  counsel for Plaintiff resulting in a September 4, 2024 final deadline for Plaintiff to seek
  relief. Ex. 8.
  September 4, 2024: Plaintiff’s deadline to move to maintain any confidentiality desig-
  nations expires.
  September 5, 2024: Plaintiff dismisses action. Doc. 185.
